                                UNITED STATES DISTRICT COURT
                                     DISTRICT OF MAINE


LAUREL D. LIBBY, State                            )
Representative of Maine House                     )
90, RONALD P. LEBEL, WENDY                        )
MUNSELL, JASON LEVESQUE,                          )
BERNICE FRASER, RENE                              )
FRASER, and DONALD DUBUC,                         )
      Plaintiff(s),                               )
                                                  )
        v.                                        )       Civil No. 1:25-CV-83
                                                  )
RYAN M. FECTEAU, in his                           )
official capacity as Speaker of the               )
House of Representatives, and                     )
ROBERT B. HUNT, in his official                   )
capacity as Speaker of the House,                 )
        Defendant(s)

                                                 ORDER

        All of the judges in this district have recused themselves from presiding over this case.

Accordingly, the case shall be referred to the District of Rhode Island, sitting by designation, the assigned

judge is authorized to hold court within this district and perform any judicial function required of a judge

of this district as set forth in 28 U.S.C. § 296. Jurisdiction over the case remains with the District of

Maine, United States District Court.

        The recusal of all the judges on this court gives rise to an “emergency” with respect to the

referred case as that term is used in 28 U.S.C. § 636(f). I therefore concur in the assignment of a

magistrate judge from the designated district to perform the duties specified in 28 U.S.C. § 636(a)-(c).

        SO ORDERED.

Dated: March 12, 2025                                     /s/ Lance E. Walker
                                                          Chief U.S. District Judge

cc:     Hanorah Tyer-Witek, Clerk, USDC – Rhode Island
        Counsel of Record
